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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


UNITED STATES OF AMERICA

v.
                                        CIVIL ACTION FILE
GARY EDWIN SHARP, II, et al.,
                                        NUMBER 1:14-cr-229-TCB
      Defendants.


                                ORDER

      This case comes before the Court on Magistrate Judge Vineyard’s

Final Report and Recommendation (the “R&R”) [71], which recommends

denying Defendant Gary Edwin Sharp, II’s motion to suppress [54].

Sharp has filed objections to the R&R [74].

I.    Legal Standard on Review of a Magistrate Judge’s R&R

      A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d

732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,
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677 F.2d 404, 408 (5th Cir. Unit B 1982)).1 Where a party objects to an

R&R, a district judge “shall make a de novo determination of those

portions of the report or specified proposed findings or

recommendations to which objection is made.” 28 U.S.C. § 636(b)(1)(C).

The district judge must “give fresh consideration to those issues to

which specific objection has been made by a party.” Jeffrey S. v. State

Bd. of Educ., 896 F.2d 507, 512 (11th Cir. 1990). Those portions of the

R&R to which no objection is made need only be reviewed for clear

error. Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006).2




      1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit

decisions issued before October 1, 1981, as well as all decisions issued after that
date by the Unit B panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667
F.2d 33, 34 (11th Cir. 1982); see also United States v. Schultz, 565 F.3d 1353, 1361
n.4 (11th Cir. 2009) (discussing continuing validity of Nettles).
      2 Macort addressed only the standard of review applied to a magistrate

judge’s factual findings, but the Supreme Court has held that there is no reason for
a district court to apply a different standard of review to a magistrate judge’s legal
conclusions. Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this
circuit have routinely applied a clear-error standard to both. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373-74 (N.D. Ga. 2006) (collecting cases). By
contrast, the standard of review on appeal distinguishes between factual findings
and legal conclusions. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991)
(when magistrate judge’s findings of fact are adopted by district court without
objection, they are reviewed on appeal under plain-error standard, but questions of
law remain subject to de novo review).

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     “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on

matters actually contested and produces a result compatible with the

purposes of the Magistrates Act.” Id. at 410.

     After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge may also receive further evidence or

recommit the matter to the magistrate judge with instructions. 28

U.S.C. § 636(b)(1)(C). The district judge also has discretion to decline to

consider arguments that were not raised before the magistrate judge.

Williams v. McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009). Indeed, a

contrary rule “would effectively nullify the magistrate judge’s

consideration of the matter and would not help to relieve the workload

of the district court.” Id. (quoting United States v. Howell, 231 F.3d 615,

622 (9th Cir. 2000)).

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II.    Factual Background

       The magistrate judge discussed the facts thoroughly, and the

Court will briefly restate only those most relevant to its ruling. On the

morning of August 21, 2012, Federal Bureau of Investigation Agents

Keith Kabrhel and Scott Cieplik went to 5 Old Summit Road, Coventry,

Rhode Island, to execute a search warrant for evidence related to

copyright infringement and unauthorized circumvention of digital

access codes. Sharp was the subject of the investigation, and the agents

believed that Sharp resided at the Summit Road address. When they

knocked on the door, the agents instead discovered that Sharp’s parents

resided at the Summit Road house and that Sharp did not. They

learned that Sharp might be living at 129 Quaker Highway, Apartment

3, Uxbridge, Massachusetts. The agents then drove to the Uxbridge

apartment. When they knocked on the door, Sharp’s girlfriend,

Katherine Renahan, answered and told the agents that Sharp was not

home.3 Renahan called Sharp and then gave the phone to Agent




       3 Agents Kabrhel and Cieplik were accompanied by Agents Ott and Luigi

when they arrived at the Uxbridge apartment, and they were later joined by more
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Kabrhel, who told Sharp that the agents “had some questions for him”

that they thought he might be able to answer.4

      Sharp arrived at the apartment about half an hour later. Agent

Kabrhel informed Sharp that he was not under arrest and that

“whether or not he talked to [them] was voluntary.” R&R at 4-5.

Although Sharp later denied that the agents told him that he did not

have to talk to them, Sharp agreed to accompany the agents to another

room and speak with them. Agents Kabrhel and Cieplik interviewed

Sharp for about an hour. Toward the end of the interview, Agent

Kabrhel asked for Sharp’s consent to search his laptop, email accounts,

and Dropbox folder.5 Agent Kabrhel presented Sharp with a standard

FBI “Consent to Search Computer(s)” form, and a standard FBI



agents. The agents were dressed casually, and each carried a firearm that was
covered by his clothing.
      4 Renahan testified that she “believe[d]” Agent Kabrhel told Sharp over the

phone that he “needed to come home,” although Agent Kabrhel testified that he
merely “requested” that Sharp return to the apartment. She allowed the officers to
wait inside for Sharp to return.
      5 The facts are disputed at this point. Sharp claims that he told the agents

“more than once” that he did not want to give them his computer, although Agents
Kabrhel and Cieplik both testified that Sharp never expressed reluctance to the
search.

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“Consent to Assume Online Identity Authorization Form.” R&R at 7.

Agent Kabrhel read the consent forms aloud to Sharp, and Sharp also

read the forms for himself. Sharp then signed each form.6

      On August 31, 2012, the agents delivered Sharp’s computer and

disks to FBI Special Agent Kevin Orkin in Atlanta. Agent Orkin asked

Special Agent Steven Bennett to make a forensic image or copy of

Sharp’s computer, and Agent Bennett completed the imaging process on

September 11, 2012, at 8:45 a.m. That afternoon, at 3:44 p.m., Assistant

United States Attorney Brian Pearce was notified that Sharp had

revoked his consent to the search and seizure of his property, including

his laptop; at 4:24 p.m., Agent Orkin learned about Sharp’s revocation

of consent.

      Sharp moves to suppress any evidence obtained from his online

accounts and his laptop computer, claiming that his consent was

involuntary and that his revocation of consent made any subsequent

search of his property illegal. The magistrate judge found that Sharp’s

      6 By signing the forms, Sharp expressly acknowledged that he gave his

consent voluntarily and without any threats or promises of any kind. Sharp’s
consent allowed the agents to search his laptop and two disks, and authorized the
agents to assume his online identity for his Gmail, Dropbox, and Facebook accounts.

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consent was voluntary, that Sharp revoked consent only after the

relevant evidence was imaged, and that the search warrants for Sharp’s

Facebook account and laptop were supported by probable cause.

Accordingly, the magistrate judge recommends that Sharp’s motion to

suppress be denied.

        Sharp objects to the findings that Sharp’s consent was voluntary

and that the search of the image of the laptop computer was illegal. The

Court will consider each of these objections in turn.

III.    Analysis

        A.    Sharp’s Consent was Voluntary

        The Fourth Amendment protects the rights of individuals “to be

secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures.” U.S. Const. amend. IV. To that

end, a search or seizure typically needs to occur under the authority of a

court-issued warrant, and warrantless “searches and seizures inside a

home . . . are presumptively unreasonable.” United States v. Bervaldi,

226 F.3d 1256, 1262-63 (11th Cir. 2000) (citing Payton v. New York, 445

U.S. 573, 586, 603 (1980)). The Government bears the burden of


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establishing by a preponderance of the evidence that an exception to the

warrant requirement applies. Michigan v. Tyler, 436 U.S. 499, 509

(1978).

     “One of the well-established exceptions to the probable cause and

warrant requirements is a search which is conducted pursuant to

voluntary consent.” United States v. Garcia, 890 F.2d 355, 360 (11th

Cir. 1989). Voluntariness of consent is determined by looking at the

“totality of the circumstances,” including factors such as whether the

consenting party could refuse consent, the existence of coercive police

procedures, the consenting party’s awareness of a right to refuse

consent, the consenting party’s education and intelligence, and the

consenting party’s belief that no incriminating evidence would be found.

United States v. Ramirez-Chilel, 289 F.3d 744, 752 (11th Cir. 2002).

     Here, Sharp contends that the Government did not meet its

burden of establishing that Sharp’s consent to the search of his laptop

and email accounts was voluntary. Sharp claims that his consent

cannot be considered voluntary because he merely “acquiesce[d] to a

claim of lawful authority.” See Bumper v. North Carolina, 391 U.S. 543,

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548-49 (1968). Though the record contains contrasting accounts, Sharp

contends that the agents told him that if he did not consent they would

go get a search warrant. Id. However, case law suggests that a claim of

lawful authority requires more than just a comment indicating an

intention to seek a warrant if consent is withheld. Id. at 550. Courts

have found that consent is involuntary when the agents falsely claim

that they already have a warrant, it is later determined that the

warrant is invalid, or the State does not even attempt to rely on the

validity of a warrant. Id. (“When a law enforcement officer claims

authority [that he does not have] to search a home under a warrant, he

announces in effect that the occupant has no right to resist the search.

The situation is instinct with coercion . . .”); United States v. Stabile,

No. 08–145 (SRC), 2009 WL 8641715, at *5 (D. N.J. Jan. 21, 2009)

(finding that consent was voluntary and drawing a distinction between

a representation that a warrant will issue, in which case consent is

valid, and a representation that an officer will seek a warrant if consent

is not given, citing United States v. Sebetich, 776 F.2d 412, 424-25 (3rd

Cir. 1985)).

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      Sharp also objects to the applicability of several cases cited by the

magistrate judge where consent was found to be voluntary despite

seemingly coercive circumstances. See R&R at 15-17. According to

Sharp, those cases are distinguishable because the defendants did not

claim to have felt that they had no choice but to consent.7 However,

even if the defendants in these cases did not say they felt that they had

no choice but to consent, the facts of these cases still involved far more

coercive circumstances than the present case. See United States v.

Hidalgo, 7 F.3d 1566, 1571 (11th Cir. 1993) (holding consent voluntary

where the defendant was “arrested by SWAT team members who broke

into his home in the early morning, woke him, and forced him to the

ground at gunpoint[,]” and finding additional issue with the scope of

consent because the consent form the defendant signed was blank);

United States v. Barsoum, No. 8:11-cr-548-T-33MAP, 2012 WL 1405699,

at *1, 3 (M.D. Fla. Apr. 5, 2012), adopted by 2012 WL 1405679, at *1

      7 Sharp testified that he “felt threatened” by the alleged reference to a search

warrant, but he admits that the agents did not make actual threats, and there is no
indication that the agents engaged in coercive behavior of any sort. Sharp also said
he believed the agents seemed “friendly,” and by signing the consent forms, Sharp
agreed that his consent was given freely and voluntarily, and not as the result of
“threats” of any kind. R&R at 5, 15.

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(M.D. Fla. Apr. 23, 2012), aff’d, 763 F.3d 1321 (11th Cir. 2014) (finding

that defendant “freely consented” to the search of his home where

agents pounded on his front door at 6:00 a.m., pulled him out of his

house and handcuffed and shackled him, and then conducted an

unlawful sweep of his residence with his family inside, all the while

with their weapons drawn and under “[c]ircumstances [that] were

purposely intimidating”).

     Particularly instructive is United States v. Garcia, 890 F.2d at

361. There, the defendant was arrested and asked to consent, but gave

only limited consent. The officers would not accept the limited consent

and said if the defendant would not give full consent they would

attempt to obtain a warrant. The defendant then gave consent, which

the Eleventh Circuit found was voluntary. In so holding, the Eleventh

Circuit expressly rejected the argument, now made by Sharp, that the

defendant did nothing more than acquiesce to a claim of lawful

authority.

     Sharp instead cites three cases that he claims are much more

similar to the present case. [74], p. 7. The courts in these cases found

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involuntary consent, but this Court concludes that the circumstances

are distinguishable. In United States v. Tovar-Rico, 61 F.3d 1529, 1535-

36 (11th Cir. 1995), the court found involuntary consent to a search of

the defendant’s apartment because it was given only after the

defendant “had already observed officers explore every room in the

apartment and could not reasonably have known that she could still

refuse a search.” See also United States v. Vasquez, 724 F.3d 15, 20 (1st

Cir. 2013) (finding consent involuntary when the agents misrepresented

that a search would ensue even without a warrant); United States v.

Hicks, 539 F.3d 566, 571-72 (7th Cir. 2008) (finding consent involuntary

when officer made a “baseless threat[]” that he could get a search

warrant, even though he did not personally know if there was probable

cause).

     Even if Sharp did feel that he had no choice but to consent, under

the totality of the circumstances it is clear that he knowingly and

voluntarily consented to the search of his laptop and online accounts,

and that his consent was therefore “the product of an essentially free

and unconstrained choice.” Garcia, 890 F.2d at 360. During their time

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in the apartment, the agents explicitly told Sharp that whether or not

he talked to them was “voluntary,” and never said that he had to stay.

R&R at 13. Sharp never asked to discontinue the conversation, he was

never placed on arrest, and the tone of the conversation was friendly

and non-confrontational. Agents Kabrhel and Cieplik testified that they

had no recollection of Sharp ever expressing any reluctance to consent

to the search of his computer, and it is undisputed that Agent Kabrhel

separately read each of the consent forms aloud to Sharp while holding

the forms in front of him. R&R at 6, 14. Sharp read the forms himself,

and signed each form after reading it.

     The Court therefore finds that Sharp voluntarily consented to the

search of his laptop computer and online accounts, and that the search

was not the product of any coercion or illegal conduct.

     B.    The Search of the Image of the Laptop Computer was
           Legal

     Both parties agree that Sharp revoked his consent to search his

laptop and email accounts after it was given, but Sharp objects to the

R&R’s conclusion that a search of the imaged copy of his laptop can be

made after he revoked his consent. However, Sharp cites no authority
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suggesting that a later revocation prohibits the continued review of an

item of evidence that was obtained pursuant to a valid consent. Rather,

it is well established in the Eleventh Circuit that a “valid consent to a

search . . . carries with it the ri[g]ht to examine and []copy.” United

States v. Ponder, 444 F.2d 816, 818 (5th Cir. 1971)8; see also United

States v. Ward, 576 F.2d 243, 244-45 (9th Cir. 1978) (“Because the

records were given to the IRS on March 26, 1975, and the demand for

return was not made until March 31, 1975, we agree with the district

court that any evidence gathered or copies made from the records

during the intervening five days should not be suppressed.”).

      The Court takes notice that this case involves an image of a

computer hard drive rather than copies of paper documents. Though

there is little authority available on this issue, United States v.

Megahed, No. 8:07-CV-342-T23MAP, 2009 WL 722481 (M.D. Fla. March

18, 2009), provides some insight. There, agents captured a mirror image

of the defendant’s desktop computer with the defendant’s consent, and


      8 Decisions of the Fifth Circuit rendered before October 1, 1981 are binding

precedent in the Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209
(11th Cir. 1981) (en banc).

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searched the imaged copy after the defendant revoked his consent. The

court found that the defendant did not “retain[] a reasonable

expectation of privacy of the mirror image copy that the FBI had

already obtained” and that the defendant’s revocation would not operate

retroactively to invalidate the agents’ right to copy the hard drive. Id.

The court in Megahed found no difference between a copy of a paper

document and an imaged copy of a computer hard drive.

     Sharp contends that Megahed “got it wrong” because evidence

obtained from computers requires analysis, and is therefore somewhat

“unknowable.” [74], p. 9. Thus, Sharp insists that the Government is

not entitled to search an imaged copy of his computer after revocation of

consent because they have no idea what is on the computer without

additional analysis. Though the Court recognizes that the prior

knowledge of the contents of a paper document versus an imaged hard

drive may vary, Sharp cites no authority that suggests that the copies of

each should be viewed differently for purposes of a later search.

Therefore, the Court agrees with the magistrate judge that the

reasoning in Megahed should control.

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     The Court also rejects Sharp’s contention that United States v.

Ganias, 755 F.3d 125 (2d Cir. 2014), applies to this case. The court in

Ganias found that it was unreasonable for investigators to later search

an image of the defendant’s computer. However, the documents at issue

were not covered by the warrant that had issued, yet the government

had retained the images for over two years and later attempted to use

them as part of a subsequent criminal investigation. Id. at 137-38. It

was the Government’s retention of the documents during the interim

period, when no probable cause existed to search them, that was held to

violate the defendant’s Fourth Amendment rights. Here, by contrast,

the image of Sharp’s laptop was not retained for a long period of time, it

was obtained while consent was effective, and there is no indication

that it will be used for a separate criminal investigation. The search of

the copied image of Sharp’s laptop is not unreasonable. Because the

copy of Sharp’s computer was made prior to his revocation of consent,

the evidence obtained from a search of this copy will not be suppressed.




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IV.    Conclusion

       For the foregoing reasons, Sharp’s motion to suppress evidence

[54] is denied.

       IT IS SO ORDERED this 4th day of August, 2015.




                                    ____________________________________
                                    Timothy C. Batten, Sr.
                                    United States District Judge




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